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$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 22-3203

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\          Larry Dean Harmon
 ZDVUHFHLYHGE\PHRQ GDWH                October 20, 2022           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           xx 2WKHU VSHFLI\  Pursuant to Mr. Harmon's consent, I personally emailed a copy of the complaint and
           u
           court-issued summons in this action to the email address of his wife, who printed out the materials                              
           and provided them to Mr. Harmon. Mr. Harmon's wife confirmed receipt of that email and verified
           that she provided hard copies of these materials to Mr. Harmon on October 30, 2022.
           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH      October 30, 2022                                                           /s/ Brian P. Hudak
                                                                                              6HUYHU¶VVLJQDWXUH

                                                                                 Brian P. Hudak, Civil Chief
                                                                                            3ULQWHGQDPHDQGWLWOH
                                                                                 U.S. Attorney's Office for D.C.
                                                                                 601 D Street, NW
                                                                                 Washington, DC 20530
                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
